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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     OCALA DIVISION

 SHELLEY CARRIER, Personal
 Representative of the Estate of Doris
 Hadcock

        Plaintiff,

 v.                                                          Case No: 5:20-cv-95-JSM-PRL

 JEST OPERATING, INC., PATRICIA
 R. LEININGER, MERIDETH C.
 NAGEL, MICHAEL J. ROGERS,
 MERIDETH NAGEL, P.A.,
 GAYLORD & ROGERS, LLC and
 ELIZABETH HEIMAN,

        Defendants.


                                           ORDER

        Defendants Michael J. Rogers and Gaylord & Rogers, LLC filed a motion to compel

 seeking production of documents related to the settlement between Plaintiff and co-

 defendants Christian Waugh and Waugh Law, P.A. (Doc. 157). Although unpersuaded by

 Defendants’ arguments as to why the documents should be produced, the Court deferred

 ruling so that it could first review them in camera. (Doc. 159). Now, after reviewing the

 settlement documents, the Court is satisfied that the motion to compel is due to be denied.

        DONE and ORDERED in Ocala, Florida on September 29, 2021.
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 Copies furnished to:
 Counsel of Record
 Unrepresented Parties




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